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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                    ORDER
                                      Criminal File No. 11-280 (MJD/JSM)

HAROLD JAMES HURLEY (14) and
ERIKA ROMERO MONTENEGRO (16),

                   Defendant.



Steven L. Schleicher, Assistant United States Attorney, Counsel for Plaintiff.

Jeffrey C. DeGree, Torres, DeGree & Associates, LLC, Counsel for Defendant
Harold Hurley.

Peter B. Wold, Peter B. Wold, PA, Counsel for Defendant Erika Romero
Montenegro.



      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Janie S. Mayeron dated

January 25, 2012. [Docket No. 487.] Defendants Harold James Hurley and Erika

Romero Montenegro have filed objections to the Report and Recommendation.



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      Pursuant to statute, the Court has conducted a de novo review upon the

record. 28 U.S.C. § 636(b)(1); Local Rule 72.2(b). Based upon that review, the

Court ADOPTS the Report and Recommendation of United States Magistrate

Judge Mayeron dated January 25, 2012.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      1. The Court ADOPTS Magistrate Judge Janie S. Mayeron’s Report
         and Recommendation dated January 25, 2012 [Docket No. 487].

      2. Defendant Harold James Hurley’s Motion to Suppress
         Statements [Docket No. 339] and Motion to Suppress Evidence
         Obtained in Search [Docket No. 340] are DENIED.

      3. Defendant Erika Romero Montenegro’s Motion to Suppress
         Evidence Obtained from Electronic Surveillance and Wiretapping
         [Docket No. 220], Motion to Suppress Confession or Statements
         in the Nature of Confessions [Docket No. 221], and Motion to
         Suppress Evidence Obtained in Violation of the Fourth
         Amendment [Docket No. 222] are DENIED.




Dated: February 24, 2012              s/ Michael J. Davis
                                      Michael J. Davis
                                      Chief Judge
                                      United States District Court




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